CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

EASTERN DlSTRlCT OF NEW YORK

 

Case number (rrknown) Chapter 1 1

 

l:i Check if this an
amended filing

 

 

Officia| Form 201
Vo|untary Petition for Non-lndividuals Fi|ing for Bankruptcy 4116

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-indi'viduais, is available.

1. Debtor's name East End Bus Lines, |nc.

 

 

2. All other names debtor
used in the last 8 years

[nciude any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Empioyer identification 20'8353058
Number (ElN)

 

 

4. Debtor's address Principal place of business Maiiing address, if different from principal place of
business '

3601 Horseblock Road
Medford, NY 11763

 

 

Number, Street, City, State & ZiP Code P.O. Box, Number, Street, City, State & ZlP Code
Suffolk Location of principal assets, if different from principal
County place of business

 

Number, Street, City, State & Z|P Code

 

 

5. Debtor*s website (URL)

 

 

6- TVP" °f debt°' l corporation (inoluding Limiieol inability company (LLC) and Limited Liabinty Partnorship (LLP))
|:l Partnership (excluding LLP)
l:l Olher. Specify:

 

 

Official Form 201 Voiuntary Petitlon for Non-|ndividuais Fiiing for Bankruptcy page 1

 

Debtor

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

East End Bus Lines, |nc. CSSG number(l'fkmwnl

 

Name

 

 

 

 

 

7. Descrlbe debtor's business A. Check one:
L_.l Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
i:l Singie Asset Reai Estate (as defined in 11 U.S.C. § 101(51B))
i"_'| Railroad (as defined in 11 U.S.C. § 101(44))
l'_'] Stockbroker (as defined in 11 U.S.C. § 101(53A))
l.:l Commodity Broker (as defined in 11 U.S.C. § 101(6))
L_.l Cfearing Bank (as defined in 11 U.S.C. § 781(3))
l None of the above
B. Check ali that apply
l:l Tax-exempt entity (as described in 26 U.S.C. §501)
l:l investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
l:|_ investment advisor (as defined in 15 U.S.C. §80b-2(a)_(11)) _
C. NA|CS (North American industry Ciassification System) 4-digit code that best describes debtor.
See http:liwww.uscourts.govlfour-digit-nationai-association-naics-ccdes.
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? n Chapter 7
i:l ChapterQ
l Chapter 11. Check ali that appiy: - i
|:l Debtor's aggregate noncontingent liquidated debts (exciuding debts owed to insiders or affiliates)
are less than $2.566.050 (amount subject to adjustment on 4101/19 and every 3 years after that).
|] The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D). if the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if ali of these documents do not exist. follow the
procedure in 11 U.S.C. § 1116(1)(B).
|:l A plan is being filed With this petition.
l:i Acceptances of the plan were solicited prepetition from one or more ciasses of creditors, in
accordance with 11 U.S.C. § 1126(b).
|:l The debtor is required to tile periodic reports (for exampie, 10K and 100) with the Securities and
Exchange Commission according to § 13 or15(d) of the Securities Exchange Act of 1934. Fi|e the
attachment to Voiuntary Petr'tion for iven-individuals Fr'iing for Bankruptcy under Chapter 11
(Offlcia| Form 201A) with this form.
l:| The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ruie 12b-2_
|:l Chapter 12
9. Were prior bankruptcy - No
cases filed by or against `
the debtor within the last 8 E:`l ¥es.
years?
if more than 2 cases, attach a _ _
separate iist. District g___ When ark Case number _
District _ When H<___ Case number
10. Are any bankruptcy cases |:| No
pending or being filed by a
business partner or an l Yes.
affiliate of the debtor?
List all cases. |f more than 1l . .
attach a Separate list Debtor See Attachment Relatlonshlp
District _ When j Case number, if known

 

 

Officiai Form 201

Voluntary Petition for Non-|ndividua|s Fiiing for Bankruptcy page 2

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Debtor East End Bus Lines, |nc.

Name

11. Why is the case filed in
this district?

Check ali that appiy:

Case number (if known)

 

l Debtor has had its domiciie, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

l:l A bankruptcy case concerning debtor‘S affiliate, general partner, or partnership is pending in this districtl

 

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

INo

m Yes Answer below for each property that needs immediate attentionl Attach additional sheets if needed.

Why does the property need immediate attention? (Check ali that appiy.)

l:l lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

l:l it needs to be physically secured or protected from the weather.

 

l:i ii includes perishable goods or assets that could quickly deteriorate or lose value without attention (for exampie,
iivestock, seasonal goods, meat. dairy, produce, or securities-related assets or other options).

l:l Other

 

Where is the property?

is the property insured?

l:lNo

|:| Yes, insurance agency

Contact name
Phone

 

Number, Street, Cityl State & Z|P Code

 

 

 

 

- Statisticai and administrative information

 

13. Debtor's estimation of
available funds

Check one:

l Funds will be available for distribution to unsecured creditors

|:l After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14. Estimated number of l 1_49 Cl 1,000-5,000 l:l 25,001-50.000
creditors m 50_99 iIl 5001-10,000 Ei 50,001-100,000
|:| 100.199 l:l 10,001-25,000 l:l Niore than100,000
l:l 200-999
15. Esiimated Assots l $0 _ $50,000 iii $1,000,001 - sic million iIi $500,000,001 - $i billion

l:l $50,001 - $‘lOU,OOO
l:l $100,001 - $500,000
l:| $500,001 - $1 million

i:i $10,000,001 - soo million
i_`.i $50.000,001 - $100 million
i:i $100,000,001 - $500 million

ill $1,000,000,001 - sic billion
Ei $10,000,000,001 - $50 billion
|:l lVlore than $50 billion

 

16. Estlmated liabilities

Officiai Form 201

iii $c - $50,000

L'.i $50.001 - $100,000
lIi $100,001 - $500,000
|Il $500,001 - $1 million

L__i $1,000,001 - $10 million

l $10,000,001 -$50 million
lZi $50,000,001 - $100 million
m $100,000,001 - $500 million

Voluntary Petition for Non~lndividuais Fiiing for Bankruptcy

iii $500,000,001 - iii billion

l:l $1.000,000,00'| - $'lO billion
l:l $10,000,00[),00'| - $50 billion
l:l iViore than $50 billion

page 3

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Debtor

East End Bus Lines, |nc.

 

Nerne

- Request for Reiiefl Dec|aration, and Signatures

Case number (i`i' known)

 

WARN|NG - Bankruptcy fraud is a serious crime. iViaking a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years. or both. 18 U.S.C.§§152, 1341. 1519. and 3571.

17. Dec|aration and signature

of authorized
representative of debtor

18_ Signature of attorney

Officia| Form 201

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition

l have been authorized to file this petition on behalf of the debtor.

i have examined the information in this petition and have a reasonable belief that the information is trued and correct

l declare under penalty of perjury that the foregoing is true and correct

Executed"n

   

Nl i' DD i' YYYY

 

t /i

Sig tu""e of authorized representative of debtor

T` le President

 

Signatnre~of-attorney foi debtor

Marc A. Pergament

John llilensch

 

Printed name

 

Date

 

NlN'| l DD/YYY‘¢'

 

Printed name

Weinberg, Gross & Pergament LLP

 

Firm name

400 Garden City P|aza
Suite 403
Garden City, NY 11530

 

ti.lumberl Streetl Cityl State & Z|P Code

Email address

Contact phone 1516) 877-2424

NY

 

Bar number and State

Voiuntary Petition for Non-individua|s Fiiing for Bankruptcy

 

page 4

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Debtor East End Bus Lines, inc. Case number(i'ftww")

 

Naml

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

EASTERN D|STR|CT OF NEW YORK

 

 

Case number (irl<nowni Chapter 11

 

ij check ii this an
amended filing

 

FORN| 201. VOLUNTARY PETIT|ON

Pending Bankruptcy Cases Attachment

 

 

 

Debtor |ll|ontauk Student Transport, LLC R€|HtiOnShip 10 VOU
District When Case number, if i<nown
Debtor Nlontauk Transit Service, LLC Relati°n$hip to YOL|
District When Case number, if known

 

Officia| Form 201 Voluntary Petition for Non-individua|s Fiiing for Bankruptcy

page 5

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

United States Bankruptcy Court
Eastern District of New York

in re East E_nd Bus Lines, inc. Case Nc.
Debtor(s) Chapter 11

 

VERIFICATION OF CREDITOR MATRIX

.r

The above named debtor(s) or attorney for the debtor(S) hereby Verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge

 

Date: (_l‘ll’§ll<(‘§

John M'e"'§ch/ r ident
Sigr? ‘rie/E
Date: _l __ o ,

Si`gnature o`f Attomey

Marc A. Pergament

Weinbergl Gross & Pergament LLP
400 Garden City Piaza

Suite 403

Garden City, NY11530

(516) 877-2424 Fax: (516) 877-2460

 

USBC-ii¢l Rev. 91'] '."i’9E

Software Cupyrighl (c) 1996-2015 Best Case, LLC - Ww.boslcaso.oom Best Case Bankruptcy

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Ascentis Corporation
11040 Main Street, Suite 101
Bellevue, WA 98004

Bleakley, Platt & Schmidt LLP
P.O. Box 5056
White Plaine, NY 10602-5056

Bond Schoeneck & Kinq PLLC
1010 Franklin Avenue, Suite 200
Garden City, NY 11530

Bridgehampton National Bank
194 Mill Road
Westhampton Beach, NY 11978

Chiesa Shahinian & Giantomasi PC
11 Times Square, 31st Floor
New York, NY 10036

Cummings and Carrol, P.C.
175 Great Neck Road, Suite 405
Great Neck, NY 11021

DeLage Landen
111 Old_Eagle School Road
Wayne, PA 19087

Element Financial Corp.
655 Bueiness Center Drive
Horsham, PA 19044

Financial Pacific Leasing
3155 S 334th Way, #300
Federal Way, WA 98001-9546

First Insurance Funding
450 Skoke Blvd, Suite 1000
Northbrook, IL 60062-?917

Flushing Automotive Financial Services
135 Haven Avenue
Port Washington, NY 11050

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Freedom Financial
8221 Tristar Drive
Irvinq, TX 75063

Gent Uniform Rental Corp.
C/O Armark

P.O. Box 28050

New York, NY 10087

Internal Revenue Service
2 Metrotech Center

100 Myrtle Avenue
Brooklyn, NY 11201

laternal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346

IPFS Corporation
P.O. BOX 905849
Charlotte, NC 28290-5849

Lam & Barnosky, LLP

534 Broadhollow Road, Suite 210
P.O. Box 9034

Melville, NY 11747~9034

Leaf
P.O. Box 644006
Cincinnati, OH 45264-4006

Littler Mendelson, P.C.
P.O. Box 207137
Dallas, TX 15320-7137

Merchant's Fleet Manaqement
P.O. 414438
Boston, MA 02241~4438

Montauk Student Transport LLC
3601 Horseblock Road
Medford, NY 11763

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Montauk Transit Service LLC
3601 Horeeblock.Road
Medford, NY 11763

Naness, Chaiet & Nanese, LLC
375 North Broadway, Suite`202
Jericho, NY 11753

lNEC Financial Services
250 Pehle Avenue, Suite 704
Saddle Brook, NJ 07663

NJM Insurance Group
301 Sullivan.Way
Ewing Township, NJ 08628

NYS Department Of Labor
P.O. Box 4127
Binqhamton, NY 13902-4127

NYS Dept. Of Taxation and Finance
Bankruptcy Unit, Special Procedure
P.O. Box 5300

Albany, NY 12205~0300

NYS Unemployment Insurance
P.O. Box 4301
Binqhamton, NY 13902-4301

SEFAC
38111U1Way
Warminster, PA 18974

Specialty Vehicle & Equipment Funding
175 Broadhollow'Road, Suite 120
Melville, NY 11747

State of New York

Office cf Attorney General
120 Broadway

New York, NY 10271

Synovia Solutions, LLC
P.O. Box 1627
Indianapolis, IN 46206~1627

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Travelers lnsurance
P.O. box 2927
Hartford, CT 06104-2927

United States Attorney
Chief cf Civil Divison
271 Cadman Plaza
Brooklyn, NY 11201

United States Attorney's Office
Eastern District Of New York

610 Federal Plaza, 5th Floor

attn: Long leland Bankruptcy Processing
Central lslip, NY 11722-4454

US Dept. of Justice
Tax Division

Box 55

Ben Franklin Station
Washington, DC 20044

US Premium Finance
280 Technology Parkway, Suite 200
Norcross, GA 30092

Vehicle Tracking Solutions
152 Veterans Memorial Highway
Commack, NY 11725

Wallkill Valley Federal Savinqs & Loan
205 Homestead.AVenue
Maybrook, NY 12543

Wells Fargo

Bankruptcy Dept. MAC-X7801-014
3476 Stateview Blvd.

Fort Mills, SC 29715

Wells Farqo

Bankruptcy Dept. -MAC~X7801-014
3476 Stateview Blvd.

Fort Mill, SC 29715

Wells Fargo Financial Servicee
123 S. Broad Street, 9th Floor
Philadelphia, PA 19109

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Wells Fargo Financial Services
P.O. Box 70239
Philaoielphia, PA 19176

William Floyol School District
240 Mast:ic Beach Road
Meolforcl, NY 11763

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

-- X
In Ro: Chapter 11
East End Bus Lines, Inc., Case No.
Debtor. CORPORATE RESOLUTION
-~ X

 

The undersigned thc President of East End Bus Lines, lnc., a corporation existing
under the laws of the State of Ncw York does hereby certify that a duly called meeting of the directors
of East End Bus Lincs, Inc., the following resolutions Wcrc adopted, and have not been modified or
rcscindcd, and arc Still in full force and cffcct:

"Resolvcd, that in the judgment of the shareholders and directors, it is desirable and
in thc best interest of the corporation, that John Mcnsch, Presidont of the Corporation, be empowered
to cause a petition under Chapter 1 1 of the Bankruptcy Code to be filed by the corporation upon Such
datc, and in the cvcnt, in his discretion, such action should bc necessary for the protection of the
corporation and preservation of its assets Without further notice to the directors ofEast End Bus Lines,
Inc., and it is further

Resolved, that John Mcnsch be and hereby is, authorized to execute and file all
petitions, Schedules, lists and other papers and to take any and all action which he may deem necessary
and proper in connection With such proceedings under Chapter 11, and in that connoction, to retain
and employ Weinberg, Gross & Pergarnent LLP and to retain and employ all other professionals
Which they may deem necessary or proper With a view towards aisucccssful conclusion of Such a

reorganization case."

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/1_3/18 Entered 09/13/18 13222:1_7

IN WITNESS WHEREOF, 1 have hereunto set my hand and seal this 13th day of
M/\-i

JoWensch, President

September 2018.

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entel’ed 09/13/18 13222:17

Fill in this information to identify the case:

Debtor name East End Bus Lines, inc.

 

EASTERN D|STR|CT OF NEW YORK

United States Bankruptcy Court for the:

 

Case number (if known)

 

|:I Check ifthis is an
amended filing

 

 

Official Form 206D

Schedule D: Creditors Who Have C|aims Secured by Property 12!15

Be as complete and accurate as possibie.

1. Do any creditors have claims secured by debtor's property?
L:l No. Check this box and submit page 1 of this form to the court with debtor‘s other schedulesl Debtor has nothing else to report on this form.
l Yes. Fill in all ofthe information below.

List Creditors Who Have Secured Claims

 

 

2. List in alphabetical order ell creditors who have secured claims |f az creditor nas: more than one secured ` aommn A - .-- l Gammn 5 -
claim, list the creditor separately for each clelrn. . ~ An‘ieunt of claim f;_ _ \l'ja`lue of collateral
_ _ _ _ :_' ' ' that supports this
. ' Do. nof)deduot the vaqu ciai ..
, - _ - ' ' ' ' ' :.fof collateral . : `
2,1 DeLage Landen Descrlbe debtor's property that is subject to a lien $509 8‘19_ 91 $380 000_ 00

 

 

Crediior's Nome

111 O|d Eagle Schooi Road
Wayne, PA 19087

Creditol‘s mailing address

Buses

 

 

Descrlbe the lien

DNlV

le the creditor an insider or related party?
l No

l:l Yes
ls anyone else liable on this cialm?

L_..l No
l ‘res. Fl|l out Schedule H.' Codebtors (Officia| Form 206H)

 

Creciitor's small address, if known

Date debt was incurred

La$t 4 digits Of account number

7616,8554,0548

 

Do multiple creditors have an
interest ln the same property?

l No
l:l Yes. Specify each creditor,

including this creditor and its relative
priority.

 

As of the petition filing date, the claim ls:
Check all that apply

l:l Contingeni
l_'_l unliquidated

- Disputed

 

151 E|ement Financia| Corp.

 

 

Craditol‘s Nama

655 Business Center Drive
Horsham, PA 19044

Describe debtor's property that ls subject to a lien $3,785,487.58

$2,010,000.00

 

Buses

 

 

Credltar*s mailing address

Describe the lien

DNiV

 

 

Credilor's small address, if known

Date debt was incurred

LHSf 4 digits Of BCCOl.ll'lt number

6218

 

Do multiple creditors have an
interest |l"l the same property?

Official Form 2060
Soflwere Copyright [o) 1996-2018 Best Case, LLC - www.bes|case.oom

ls the creditor an insider or related party?
l No
l:l res

ls anyone else liable on this clalm?
1:1 No
l Yes. Fill out Schedule H.' Codeblors (Orhcial Form ?.OEH)

As of the petition filing date, the claim ls:
Check all thai apply

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 5
Best Ca_se Bankruptcy

 

Debtor

Case 8-18-76176-|as Doc 1

East End Bus Lines, inc.

Case number (lil<ndw)

 

Name

an

ij Yes. Specify each creditor,
including this creditor and its relative
priority.

 

ill contingent
l'_`l unliquidated

- Disputed

 

2.3 Financia| Pacific Leasing

 

Crodiior's Nemo

3155 S 334-th Way, #300
Federa| Way, WA
98001-9546

Describe debtor‘s property that is subject to a lien

Filed 09/13/18 Entel’ed 09/13/18 13222:17

 

$250,000.00

 

Lifts

 

 

Credltors mailing address

Describe the lien

 

 

Credltor's email addressl if known

Date debt was incurred

Last 4 digits of account number

6001

 

Do multiple creditors have an
interest in the same property?

-No

l:l ‘l’es. Specify each creditor,
including this creditor and its relative
priority.

 

ls the creditor an insider or related party?
- No
1:1 Yes

is anyone else liable on this ciaim?
i:i No
l Yes. Fili dui schedule H.- cddebidrs ronald Form zocni

As of the petition filing date, the claim is:
Check all that apply

1:| Contingent
iI| unliquidated

l Dispuled

 

2.4 1 First insurance Funding

 

 

Credltor's Name

450 Skoke B|vd, Suite 1000
Northbrook, |L 60062-7917

Descrlbe debtor's property that is subject to a lien

$945,596.47

 

insurance Po|icy

 

 

Credltor's mailing address

Describe the lien

UCC

 

 

Credltor's small address, if known

Date debt was incurred

Last 4 digits of account number

2385

 

De multiple creditors have an
interest in the same property?

- No

l:l Yes. Specify each creditor,
including this creditor and its relative
priority.

 

le the creditor arl insider or related party?
l No
1:1 Yes

is anyone else liable on this c|alm?

- Nc
1:1 Yes. Fill out Schedul‘e H.' Codebtors (Official Form 206H)

As of the petition filing date, the claim is:
Check all that apply

l:i Contingent
l:l unliquidated

l Disputed

 

 

 

 

F|ushing Automotive
Financia| Service§__w_,

 

 

Creditor‘s Narne

135 Haven Avenue
Port Washington, NY 11050

Descrihe debtor's property that is subject to a lien

 

 

Officiai Form ZOSD

Credltor's mailing address

Describe the lien
Leases

 

ls the creditor an insider or related party?

`- No

Adclitiona| Page of Schedu|e D: Creditors Who Have C|aims Secured by Property

Soflware Copyright (o} 1996-2018 Best Caso. LLC - www.bostcase.corn

 

$1,403,029.10

Besl Case Bankruptcy

 

Debtor

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

East End Bus Lines, inc.

Case number (lf know)

 

Name

 

Credltor's small addressl if known

Date debt was incurred

Last 4 digits of account number

 

Do multiple creditors have an
interest in the same property?

- No
m Yes. Speclfy each creditor,

including this creditor and its relative
priority.

 

 

l:l Yes
is anyone else liable on this ciaim'iI

L__l No
- Yes. Fiii out Schedule H.' Codebtors (Othcia| Form ZOBH)

As of the petition filing date, the claim ls:
Check all that apply

\:l Contingent
t:l Unliquidated

- Dleputed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Softwere Copyrlght (c) 1996-2018 East Caee, LLC - www.bestcase.com

2.6 Freedom Financial Describe debtor's property that is subject to a lien $3,1 36,138_30 $D,(](]
Credltoi‘s Name
8221 Tristar Drive
lrving, TX 75063
Credltors mailing address DeSCi’fbe the llei'i
Leases
ls the creditor an insider or related party?
- No
Credltole entail address, if known m Yes
is anyone else liable on this ctaim?
Date debt was incurred |:| No
- Yes. Fiii out Schedul'e H.' Codebtors (Oft°lcia| Form 206H)
Last 4 digits of account number
2764,7004
Do multiple creditors have an As of the petition filing date, the claim ls:
interest in the same property? Check all that apply
l Nc. El contingent
l:l ‘{es. Specity each creditor, m U""quidaled
including this creditor and its relative l:l Disputed
priority.
2 7 llllerchant's F|eet
' Managemgnt Describe debtor's property that is subject to a lien `````` $5,785,332.23 $0_00
Credltor‘e Name
P.O. 414438
Boston, illiA 02241-4438
Creditor's mailing address Descrlbe the lien
Leases
is the creditor an insider or related party?
- No
Creditor's emaii address, ii' known n Yes
is anyone else liable on this ciaim?
Date debt was incurred |:| NO
- ‘(es. Fiii out Scheduie H.' Codebtors (Ofdcial Form 206H)
Last 4 digits of account number
0193
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ali that apply
- No l:l Contingent
m Yes. Specify each creditor, |:| U""quidated
including this creditor and its relative |:t Disputed
prioriiy.
NEc l=inaneial services describe debtors property that ls sublectto a lien $119,416.99 szao,ooo.oo
Offlc|a| Form 206D Addltlonal Page of Schedu|e D: Credltors Who Have Ciaims Secured by Property page 3 of 5

Best Case Bankruptcy

 

 

Debtor East End Bus Lines, inc.
Namo
Credltor‘s Name

Case 8-18-76176-|as l Doc 1

Case number (ifkndw)

 

 

250 Peh|e Avenue, Suite
704
Saddie Brook, NJ 07663

Filed 09/13/18 Entei’ed 09/13/18 13222:17

 

 

 

Creditol‘s mailing address

Describe the lien

 

 

Credltor's emaii address, it known

Date debt was incurred

Last 4 digits of account number

8001

 

Do multiple creditors have an
interest in the same property?

- No
t:l Yes. Specify each creditor.

 

is the creditor an insider or related party?
l No
l:l Yes

is anyone else liable on this cla|m?
l:l No
. Yes. F||l out Schedule H.' Codebtors (Oftlcial Form 206H}

As of the petition filing date, the claim ls:
Check ali that apply

l:l Contingent
Ei unliquidated

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Sofiware Copyright (o) 1996-2018 Best Case, LLC - www.bestcase.com

including this creditor and its relative l:l Disputed
priority.
2 9 Specia|ty Vehicle &
' Equipment Funding Descrlbe debtor's property that ts subject to a lien $537,677-33 $300»000-00
Credltor's Name Buses
175 Broadho|low Road,
Suite 120
iiiiei\riilel NY 1174?
Credltor's mailing address Desct'ibe the lien
DMV
is the creditor an insider or related party?
- No
Credltor's small address, it known n ‘(BS _
is anyone else liable on this claim?
Date debt was incurred |___l No
l Yes. Fiii out Schedute H; Codebtors (Official Form ZOGH)
Last 4 digits of account number
8003.8005
Do multiple creditors have an As of the petition filing date, the claim ls:
interest in the same property? Check ali that apply
l No l:l Contingent
L_.t res. Specify each creditor. m Un|iquidafed
including this creditor and its relative l Disputed
priorlfy.
2l1 l o
0 US Pi"emlum Fl|'tance Describe debtor's property that is subject to a lien $2,457,424-27 $0-00
Credif°f‘S Nam€ insurance Poiicy
280 Technoiogy Parkvvay,
Suite 200
Norcross, GA 30092
Credltor's mailing address Describe the lien
is the creditor an insider or related party?
l No
Credltor's small address, if known l:] Yes
is anyone else liable on this c|atm?
Date debt was incurred |:] No
- Yes. Fiii out Schedul'e H: Codebtors (Oft"lcial Form 206H)
Last 4 digits of account number
800'[
Official Form 2060 Additional Page of Schedu|e D: Credltors Who Have Ciaims Secured by Property page 4 of 5

Best Case Bankruptcy

 

 

Debtor East End Bus Lines, inc.

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Case number (ifi<new)

 

Narne

 

Do multiple creditors have an
interest in the same property?

- No
iIi Yes. Speeiry each crediier,

including this creditor and its relative
priority.

 

As of the petition filing date, the claim ls:
Check all that apply

l:l Contingent
|:| unliquidated

- Disputed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.1 Wei|s Fargo Financial
'i Serviceg Describe debtor's property that is subject to a lien $74,063.25 $1 501000-00
Credltor's Neme
123 S. Broad Street, 9th
F|oor
Philadelphia, PA 19109
Credltors mailing address Descl’ibe the lien
is the creditor an insider or related party?
- No
creditors emeii redressl if known l:i Ves
is anyone else liable on this claim?
Date debt was incurred |:| No
. Yes. Fiii out Scheduie H: Codebiors (Oft'icial Form 206H)
Last 4 digits of account number
7616,9700,9701,9703
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
l Nq i:l Contingent
L__l Yes. Specify each creditorl n Un"°iuidated
including this creditor and its relative l:i Disputed
priority.
` '_ ' '; ` ` .' _--_; j_`;`*f_- $19,494,038.
3, `_l'-e_tal ot the delia r:a mounts from Part 1,,Coiu`mn:A3 including the amounts from the A_efdi_tio_nai P'_a__ge, if_ a_ny. ' - 9 3

M i_isi others to se Noiiried for a Debt Aiready Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

lf no others need to notified for the debts listed in Part 1, do notfill outer submit this page. if additional pages are needed, copy this page.

 

 

 

 

 

 

 

 

Nam_e and address Dri `wlii`c`i`i line in Part:'l did you ` La.st-¢i:ciig`its-Qi'.~
' ..... enterthjé;rje _té_____rle _tor? -_ _ aceeui\_t-_r`l`limberfer.
. - `. 1 ` " '-""'- "--' this:entiW`:-*-`
Chiesa Shahinian & Giantomasi PC
11 Times Square, 31st F|oor iier
New York, NY 10036
We||s Fargo
Bankruptcy Dept. N|AC-X7801-014 L|ne __M_
3476 Stateview B|vd.
Fort iliii||sl SC 29715
Offlcia| Form 2060 Additiona| Page of Schedu|e D: Credltors Who Have C|aims Secured by Property page 5 of 5

Soilware Copyright (c) 1996-2018 Besi Cese. LLC - www.bestcase.cem

Beel Case Bankruptcy

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

 

Fiii irl this information to identify the case:

Debtor name East End Bus Lines, inc.

 

United States Bankruptcy Court for fhe: EASTERN DlSTR|CT OF NEW YORK

 

Case number (if known)

 

 

Officia| Form 206E/F

 

Scheduie EIF: Creditors Who Have Unseeured Claims

i:| Check if this is an
amended filing

12I15

Be as complete and accurate as possible. Use Part 1 for creditors with PRlOR|T¥ unsecured claims and Part 2 for creditors with NONPR|OR|TY unsecured ciaims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Aiso list executory contracts on Schedui'e AJ'B: Assets » Reai and
Personai Property (Officlai Form 206A!B) and on Schedui'e G: Executory Contracts and Unexpired Leases [Oftlclal Form 2066). Number the entries in Parts 1 and 2
in the boxes on the ieft. if more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

m List Aii creditors with PRioRi'rY unsecured claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

E| No. co to Part 2.

l ‘res. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. if the debtor has more than 3 creditors with
priority unsecured claims, till out and attach the Additiona| Page of Part 1.

Pl‘iorlty creditol“'s name and mailing address
internal Revenue Service
2 liiletrotech Center
100 Myrtle Avenue
Broi:lk|ynl NY 11201

 

Date or dates debt was incurred

As of the petition filing date, the claim is:
Checi< ali that apply

i:i Contingent

iIi unliquidated

l Dieputed

Basis for the ciaim:

.` `l?otai claim ` f §P`r.iority amount

$139,036.52 $0.00

 

 

Last 4 digits of account number

Specii‘y Code subsection of PR|OR|TY
unsecured ciaim: 11 U.S.C. § 507(a) (§)

is the claim subject to offset‘?
- No
i:l Yes

 

i:| Priority creditors name and mailing address
NYS Department of Labor
P.O. BOX 4127
Elinghamton, NY 13902-4127

 

Date or dates debt was incurred

As of the petition filing date, the claim ls:
Citeck ali that apply.

i:i Contingent

i:i unliquidated

- Disputed

BHSIS fOl` the Claii'l'll

$115,412.65 $115,412.65

 

 

Last 4 digits of account number 3056

|s the claim subject to offset?

 

Specify Code subsection of PR|ORiTY - No
nsecured ciaim: 11 U.S.C. 507 a 8
ll § ( ) (_) m yes
Ofne|ai Form 206ElF Scheduie EIF: Creditors Who Have Unsecured Clalrns page 1 of 5
Software Copyright (c) 1996-2018 Elest Caee, LLC - ltwrw.besicase.com 48906 Best Case Bankruptcy

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entel’ed 09/13/18 13222:17

Debtor East End Bus Lines, inc.

Case number (irl<nown)

 

Name

Priority creditors name and mailing address
NYS Dept. of Taxation and Finance
Bankruptcy Unit, Speciai
Procedure
P.O. Box 5300
Aibany, NY 12205-0300

Date or dates debt was incurred

 

 

As of the petition filing date, the claim is:
Check ali that apply.

i:i Contingent

Ei unliquidated

l:l Disputed

$8,803.37 $0.00

 

Basls for the ctaim:

 

Last 4 digits of account number

Specify Code subsection of PR|OR|TY
unsecured ciaim: 11 U.S.C. § 507(3) (§)

is the claim subject to offsei?

- No
i:l Yes

 

l_let All creditors with NoNPRlORiTY unsecured claims

 

3. List in alphabetical order all of the creditors with nonpr|erity unsecured claims. little debtor has more than 6 creditors with nonpriority unsecured ciaims, i"l|l

out and attach the Add|tiona| Page of Part 2.

.Amot'int ofcla'i_m. _

 

Nonprlorlty creditor's name and mailing address As of the petition filing date, the claim ls: Checir aiiihatappiy. $10,699_01
Ascentis Corporation i:| Contingent
11040 Main Street, Suite 101 I`_'| unliquidated
Be||evue, WA 98004 iIi Dieputed
Date(s) debt was incurred _ Basls for the c|a\m.
Last 4 digits of account number 6331
is the claim subject to effset? l No l:i Yes
Nenprlerity creditor's name and mailing address Ae ofthe petition liling date, the claim ls: cheek etrtnetepply. $3,299_33

Bieakiey, P|att & Schmidt LLP
P.O. Box 5056
White P|ains, NY 10602-5056

Date(s) debt was incurred _

Last 4 digits of account number H

3.3 Nonprlorlty creditor's name and mailing address

Bridgehan'tpton Nationa| Bank
194 iiiiiii Road
Westhampton Beach, NY 11978

Date(s) debt was incurred _

Last 4 digits of account number _

i:l Contingent
ij unliquidated
iIi Dieputed

Basls for the ciaim: _

ls the claim subject to offset'? - No i:l Yes

As of the petition filing date, the claim ls: Check eli that appiy.
ij Contingent

iIi unliquidated

l:l Disputed

$4,000,000.00

Basls for the claim: __

isthe claim subject to offset'? l No l:i Yes

 

 

|§t_'_l Nonprlorlty creditor's name and mailing address As of the petition filing date, the claim ls: Check eli that appiy. $141 1550-00
Cummings and Carrol, P.C. |Ii contingent
175 Great Neck Road, Suite 405 iIi unliquidated
Great Neck, NY 11021 i_`_| Disputed
Date(s) debt was incurred _ Basis for the claim _
Last 4 digits of account number_ _ _
is the claim subject to offset? - No m ‘(es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check dinner epp»'y. ww$:YZF,.'§“'I‘§)W_§§w
Gent Uniform Rentai Corp. l:| contingent
;l%A|;mH';-‘Boso lIi unliquidated
. . OX ij Dls uted
New Yerk, NY 10087 p
B ' f th l i :
Date(s) debt was incurred _ asls or e c a m _
Last 4 digits of account number 1464 is the claim subject to offsel? - Nc l:i Yes
Officia| Form 206 Ei'F 'Schedu|e EIF: Creditors Who Have Unsecured C|aims Page 2 of 5

Software Copyrigbt (c) 1996»2018 Best Casel LLC ~ www.bestcase.com

Besi Case Bankruptcy

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Debtor East End Bus Lines, inc.

Case number (li known)

 

Name

 

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cneoir aiiinai appiy. $39,900_09
iPFS Corpoi'ation l:l Contingent
P.O. Box 905849 i:| unliquidated
Char|otte, NC 28290-5849 ill Dispuied
Date(s) debt was incurred _ Basls for the clalm: _
l Last¢idigits of account number 9421
‘"_ is the claim subject to arisen l No ij res
Nonprlorlty creditor's name and mailing address As of the petition filing date, the claim ls: Cneck eiitnat appiy. $4,184_01
Lam & Barnosky, LLP jj Contingent
534 Broadhol|ow Road, Suite 210 g Un"qumated
P.O. Box 9034 |~_-| .
. Dis uied
liiieivrile, Nv 11741-9034 '°
Date(s) debt was incurred _ Basls for the c|a|m: _
Last 4 digits of account number is the claim subject to offset? - No l:i Yes
Nonprlorlty creditors name and mailing address As or the petition filing date, the oisim ls: onset eli tnsteppiy. $510,60
Leaf i:i Contingent
P:O. Box 644006 iii unliquidated
Cincinnati, OH 45264-4006 jj mismth
Date(s) debt was incurred _ Basis for the claim _
Last 4 digits of account number 3001 0
' ""“' is the claim subject to offset? - No i:l Yes
Nonprlorlty creditor's name and mailing address As of the petition fiiing date, the claim is: Cneck eli thainppiy. $113,273_57
Litt|er Mendeison, P.C. i:i contingent
P.O. BOX 207137 i:l Uniiquidated
Da|las, TX 75320-7137 |:| Disputed
Date(s) debt was incurred _ Basis for the c|a|m: _
Last 4 digits of account number 2455 l _
" ' ' is the claim subject to offset? l No i:l Yes
3.10 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cnecit ali indieppiy. $16,477_50
Naness, Chaiet & Naness, LLC i:| contingent
375 North Broadway, Suite 202 |'_'i unliquidated
Jericho, NY 11753 jj Disputed
Date(s) debt was incurred _ Basls for the c|a|m: v
Last 4 digits of account number_
is the claim subject to offset? - No n Yes
3.11 Nonprlorlty creditor's name and mailing address As of the petition filing date, the claim is: Check eti thateppiy. $699,443_45
NJilli insurance Group |___i contingent
301 Su|llvan Way i_`J unliquidated
Ewing Township, NJ 08628 jj Dispufed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number 7448
is the claim subject to offset? l No i:l Yes
3.12 Nonprlorlty creditor's name and mailing address As of the petition filing date, the claim is: Check ali thatappiy. $8'{,198_24
NYS Unemp|oyment insurance Ei contingent
P»O- BOX 4301 i:l Un|iquidated
Binghamton, NY 13902-4301 jj Disputed
Date(s) debt was incurred _ Basls for the c|a|m: _
Last 4 digits of account number_ _ _
|s the claim subject to offset? - No i:l Yes
Ofi`lcia| Form 206 ElF Schedule Ei'F: Creditors Who Have Unseeured C|aims Page 3 Of 5

Software Copyrighi (o] 1996“2015 Besi Cass, LLC » www.bestcase.com

Bsst Case Bankruptcy

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

Debtor East End Bus Lines, inc.

Case number (lf known)

 

 

 

 

 

 

 

 

Name
3.13 Nonprlorlty creditor's name end mailing address As of the petition filing date, the claim is: Check airrhai appiy. $494_00
SEFAC El Contingent
381 Nt_n Way ill unliquidated
Warminster, PA 18974 jj Djsputed
Date(s) debt was incurred _ Basis for the claim_
Last 4 digits of account number __ _
is the claim subject to offsei? . No g Yes
3.14 Nonpriority creditor's name and mailing address As of the petition i"liing date, the claim is: cheek aiirhet apply. $3,698_89
Synovia Solutions, LLC El Contingent
P.O. BOX 1§27 l:l Uniiqu|dated
indianapolis, iN 46206-‘| 627 |:| Djsputed
Date(s) debt was incurred _ Basis for the claim,
Last 4 di its of acc tmt number _
g p _ is the claim subject to offset? l No l:l Yes
Nonprlorlty creditor's name and mailing address Ae ot the petition filing date, the claim ls: cheek dinner aple $197,51 7_00
Traveiers insurance |`_`i contingent
P-O- bOX 2927 |I| unliquidated
Hartford, cr 06104-2927 g Disputed
Date(s) debt was incurred _ Basis for the claim.
Last 4 digits of account number 0960 _
is the claim subject to offeet? - No n Yes
3.16 Nonprlorlty creditor's name and mailing address As of the petition filing date, the claim is: Cneck air inatapply. $17,162_08
Vehicle Tracking Soiutions |:l Contingent
152 Veterans Niemoria| Highway g Unllquidated
Commack, NY 11725 |:| Dispujed
Date(s) debt was incurred _ Basls for the clalm.
Last 4 digits of account number _ _
isthe claim subject to offset? - No l:\ Yes
l?i'._t':r_wl Nonprlorlty creditor's name and mailing address As of the petition filing datel the claim is: check err that apply. $4,000,000,00
Waiikii| Va|ley Federa| Savings & Loan L`.| contingent
205 Homestead Avenue |I| unliquidated
Maybrook, NY 12543 |:| Disputed
Date(s) debt was incurred _ Basls for the claim
Last 4 digits of account number _ l
|sthe claim subject to offeef? - No l:l Yes
3.18 Nonprlorlty creditor's name and mailing address As of the petition filing date, the claim ls: Ohecti art that apply $6,171.77
Weiis Fargo Financia| Services |:l Contingent
P.O. BOX 70239 l:l Uniiquidated
Phiiadeipnia, PA terre g D,Sputed
Date(s) debt was incurred § Basis for the claim,
Last 4 digits of account number 8761,74‘13,6587 _ _
is the claim subject to offsei? - No t:l Yes
l 3.19 Nonprlorlty creditor's name and mailing address As of the petition filing date, the claim is: Checii air that appiy. $60,000_00

Wi|liam F|oyd Schoo| District
240 Mastic Beach Road
Medford, NY 11?63

Date(s) debt was incurred _M

Last 4 digits of account number__

|:l Contingent

|:| unliquidated

l Disputed

Basls for the clalm: H

is the claim subject to offsel? - No \:l Yes

 

List Others to Be Notified About Unsecured Ciaims

 

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examp|es of entities that may be listed ate collection agenciesl assignees

of claims listed above, and attorneys for unsecured creditors.

|f no others need to be notified for the debts listed in Parts 1 and 2, do not f|li outer submit this page. If additional pages are needed, copy the next page.

Ofiicia| Form 206 El'F
Sotiware Copyright (c) 1996-2018 Best Case, LLC - wmv.bestoase.com

Schedu|e Ein Creditors Who Have Unsecured Claims

Page 4 of 5
Besi Case Bankruptcy

 

 

Case 8-18-76176-|as DOC 1

Debtor East End Bus Lines, inc.

Case number (ifl<nown)

 

Name

Nai_'ne and mailing address

4-1 Bond Schoenecit & King i’LLC
1010 Franklin Avenue, Suite 200
Garden City, NY 11530

Line 3.1 9

E] Not listed Explaln

Filed 09/13/18 Entei’ed 09/13/18 13222:17

 

Dn:§whi_ch :llt"le ]n Partt or P.artiZ-ls the .
related creditor-tit anvil listeci? _ _

Last4.:digits'of. ' ' .
`accountnumber, if : .
ahy.-`-f-:.

 

4-2 internal Reveriue Service
P.O. BOX 7346
Phi|ade|phia, PA 19101-7346

Line 2.1

|:l Not iisteci. Explain

 

4-3 State of New York
Office of Attorney Generai
120 Broadway
New York, NY 10271

Line 2.3

El Not listed i=.xpiain

 

4-4 United States Attorney
Chief of Civii Divison
271 Cadman Piaza
Brook|yn, NY 11201

Line 2.1

l:l Not |isted, Explain

 

4-5 United States Attorney's Office
Eastern District of New York
610 Federal P|aza, 5th Fioor
attn: Long island Bankruptcy Processing
Centra| |siip, NY 11722-4454

Line 2.1

l:l Not llsted. Expla|n

 

4-6 US Dept. of Justice
Tax Division
Box 55
Ben Frankiin Station
Washington, DC 20044

Line 2.1

l:l Not listed El<plain

 

4-7 We|is Fargo
Bankruptcy Dept. -NiAC-X'IBD1-014
3476 Stateview B|vd.
Fort Nliil, SC 29715

Line 3.18

 

L'_l Not listedl explain

 

m Tota| Amounts of the Priority and Nonprlorlty Unseeured C|aims

 

5. Add the amounts of priority and nonpriority unsecured ciaims.

5a. Tota| claims from Part 1
5b. Totai claims from Part 2

5c. Totai of Parts1 and 2
L|nes 5a + 5b = 5c.

Officia| Form 206 EfF
Software Copyright (c) 1996-2018 Best Caso, LLC -wwtiv.besicaso.oom

Schedi.l|e EIF:

  

 

 

5a "”"'"263,252.54
511 + $ 9,403,959.69
5a a 9,667,212.23

 

 

 

 

Creditors Who Have Unseeured C|aims

Page 5 of 5
Best Case Bankruptcy

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

____________ X
In Re: Chapter ll
East End Bus Lines, Inc., Case No.
Debtor. - Affirrnation Under Local
Bankruptcy Ruie 1007-4
X

 

John Mcnsch, duly affirms under the penalties of perjury as folloWs:

l. I am the President of` East End Bus Lines, Inc., the above-named debtor
(hereinaf’ter “Debtor”). I submit this affirmation in accordance With Local Bankruptcy Ruie 1007~3
and in connection With the Debtor’S voluntary petition for relief under Chapter ll of Title 11 of the
United States Code (the “Banl<ruptcy Code”) filed herein.

2. The principal office of the Debtor is located in this district at 3601 Horseblock
Road, Medf`ord, New York.

3. The Debtor’s taxpayer identification number is XX-XXXXXXX.

4. There is neither a case under the former Bankruptcy Act nor under the
Bankruptcy Code currently pending by or against the Debtor.

5. No official or unofficial committee of creditors of the Debtor has been
organized as of this date.

6. No property of the Debtor is in the possession or custody of` any custodian,
public officer, receiver, trustee, assignee of rents, or secured creditor or agent for any such persons

'7. The Debtor’s principal books and records are located at 3601 I-Iorseblock
Road, Medf`ord, NeW York.

8. A listing of the Debtor’s twenty (20) largest unsecured creditors, excluding

insiders, is attached to the Debtor’s petition

 

 

CaSe 8-18-76176-|&8 DOC 1 Filed 09/13/18 Entei’ed 09/13/18 13222:17

9. During the pendency of these proceedings, the Debtor intends to continue its
operations in transportation

10. The Debtor operates its business nom 3601 Horseblock Road, Medford, NeW
York.

11. lt is anticipated that the Debtor’s operations in the next thirty (30) days will
result in a small profit.

12. No stocks, bonds, debentures, or other securities of the Debtor have been
publicly issued.

13. The Debtor does not have any assets located outside the territorial limits of the
United States.

14. lt is desirable for the Debtor to continue its operations, as the Debtor believes

itself to be capable of effectuating a reorganization

Dated: Garden City, New York
September 13, 2018

